CaSe 8:18-cV-00560-C.]C-KES Document 12 Filed 04/10/18 Page 1 of 4 Page |D #:35

N:\me and address:
Marming Law, A]"C
joseph R. Manning, Ir. {SBN 223381)
Michael ]. Manning [SBN 285879)
4667 MacArthur Blvd.. Sulte 150
Ncwporl Beacla, CA 92660 -

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIPORNIA

 

 

 

 

 

Patrlcie Fjlardi, el al. CASB NUMBER
Plainiifi`(s], 8:1B-cv»0|]560
V. _ f m
THE RBSORT A'r PELICAN nan LLC, n unaware :o-.-med APPl-ICATION OF NON~RESIDENT ATTORNBY
liability compan}'; and DOES 1 to SD, inclusive TO APPBAR IN A SPECIFIC CASE
Defenclnnt{s). PRO HAC VICE
UCTIO S F LIC 5
(1) i`he attorney seeking to appear pro hac vice must complete Seciion i ofihis Appiioation, personally sign, in i'nic. tile certification in

Ser:tion ii, and have the designated Local Coansei sign fn Seciion iil. BLBCTRDNIC SIGNATURBSARB NOT ACCEPTI{D.
Space to supplement responses is provided in Section iV, 'i'i!e applicant must also attach a Cer¢ijicaie of Good Standing fissued
within the last 30 days)from every state bar to which he or she is admitted;faihtre to do so will be grounds for denying the
Applioa£:'on. .Scan the completed Appiicalion with lis original ink signature together with any attachmeni(s). to a singie Poriabic
Docutnent For.~nac {PDF)jiie.

{2} Have the designated I.oeal Counsei_,iii: tile Appiication elecn'anicaiiy ( using tile Cottrt‘s CM/.ECF Systetn), attach a Proposed Order
fusing Form 5-64 ORDER, available from the Conrt's webslte), and pay the required $325fee oniine of the time ofjiiing (asinga
credit card). Tizefee is required for each case in which ihe applicant files an Appiication. Failttre to pay thefee at the time offliing
will be grounds jmr denying the Appiir:ation. Out-ojieiate federal government attorneys are not required to pay lite $325 j:e.
(Certai n attorneys for ille United States ana also exempt from the requirement of applying for pro hoc vice status See LR. 33-2.1.4.)
A copy ofthe G-64 ORDER in Word or Wonii»’eifecifortnai must be entailed to the generic chambers entail addi'esi. L.R. 5~4.4.2.

 

 

 

 

 

 

ON - O ION
Whitc, Binily C.
Appiicant's Namr: (i..osi Nanle, First Name d~ Middie Initiai) check here if federal government attorney IJ
Dannl,aw
i-'irrn/Agency Name
35 N. Fourth Streei:, Suite 200 (614) 500~4395 (216) 373-0539

'l‘eiephone N::mber Fax Number

Sh'eeiAddress
Columbw:, Ol-l 432 l5 ewhitc@dannlaw.eom
Ciiy. Stale. le Code B-tnait' Address

Iheve been retained to represent the following partiee:
Pairlcln Filardi. el a]. E_t] Piainti,ij‘i’s,i |:] Defendani{s) [:| Other:
|:i Piaini[,\j"(s) [:] Defendnnifs,i [:| Other:

 

Name['s) of Pariy(ies) Repwsenied

Lisl all slate and federal courts [jncluding appellate courte} to which the applicant has been acimiiled, and provide the current status oi" his or
her membership Use Section IV if more room ls noedecl, or to provide additional information

 

 

 

Name o o ri Doie of A¢imission ~tive Me her in Good andin ? i not ie se e '
Ohio Supr<:mc Couri 11i9t'09 Yes.
Soutllcrn Disirict othio ives/13 Yes.
Nortl:.crn Districi of Ohio ztmi Yes.

 

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G~é»l (iS.l l ii AP|U.ICA'TEDN OF NON-RI€S]DENT ATTORNEY 'l'{) A-F§BA.R IN A SPECIPIC L'»\S[i. i*`RO HAC Vi'(.‘..ii' Pugo l of 3

 

 

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Llst all cases in which the applicant has applied to this Co‘.\l't for pro hac vice status In the previous three years (conilnue in Section iV if
needed):

wm Ttrieo notion note o A trench gamethng

 

 

 

 

 

Ifany pro hac vice applications submitted within tile post three {3) years have been denied by the Court, please explain:
NlA

 

 

 

Has the applicant previously registered as a CMlECF user in the Central Dlstrict of Callfomio? m Yes Ng
If yes, was the applicant‘s CMlECP User account associated with the e~mail address provided above? l:] Yes Et] No

 

Previons E»rnatl Used lifapplicable}

Attomeys must ins registered for cite Coart's Case Mamsgerneritt{:'lectronic Case Ftllng ("CM!BCF") b`ystt:m to be admitted to practice pro hac
vice in this Conrt. Snbmissfon of this )lpplication will constitute your registration for re`registration,l as a CM/ECF User. if the Conrt signs an
Drder granting your Application, you will eitlter be issued a new CMtECF iogin and passn'ord, or the existing account you idenii;?ed above
will be associated with your case. Pt»trs:tant to Local little 5-3.2.3, registering as a CM;ECF User is deemed consent, for purposes of Fed. R. Civ.
P. S(b){Z)(B}, to electronic service of documents through the CM/E(.'i" .S`ystem. You have the right to withhold or revoke your consent to
electronic service at any time,' simply complete and retttrn a Contral Dlstrici Elecironr`c Service L"xemplion Forni ['i"ol'm G-US, available from
lite Court's website,l. if the Coart receives an .Electronic Servite i:`xemption l~`orm from yott, you will no longer receive notice by e-rnatl when
Coart orders or other documents are filed in cases in which yca are counsel of record; instead copies of such documents will be sent to you
through the mail

SE TIO ll- C ' lFIC

l declare under penalty of perjury that:

(1) All of the above information is true and correct.

(2] I nm not a resident of the State oE`C:\iii'ornia. [ am not regularly employed in, or engaged in substantial ht:stness.
professional. or other activities in the Stete of Caiii'ornla.

{3) I am not currently suspended from and have never been disbarred from practice in any courl.

(4] lam familiar with the Coutt's Local Civil and Crllnint\l Rtllcs, the Federnl Rules of Civil and Crimlnal procedure
and the Federai Rtllesoi'lividence.

(5) I designate the attorney listed in Sectton IIl below. who le ii member in good standing of the Bar of this Co\lrt and
maintains an office in the Centl'al Dlstr:ict of Calit'ornin for the practice ol° law, as local counsel pursuant to Local
Rtlle 83-2.1.3.‘1.

 

 

 

Datcd 4!91'18 q Btrtily’ C. Wlllte
nppl;t‘s Name (piease type w r
'_ Appiicant‘s Srgnlli'are

 

llth {Ei'i$l APPLICATIGN OF NON-RLSIDKNT ATTORNE\' TU APPEAR lN h SPBCIFIC CFLSE PRO iM.IZ.' VIC.E page 2 ¢;{3

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. P I. C
is)i:inning1 Ir., IOSgPh R.
Dcsignee's Name {Lnst Namc, First Namc i~ Middle Initini)

Manning i..aw, APC
Firm/Agency Name

 

 

 

 

 

 

4667 Macl'tt‘th‘l.tr Blvd., Sttife.' 150 11949) 200-3755 (366) 843~8308
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Srreer Aclciress ioe@rnanninglawoi"t`tce.com

Newport Bea_ch, CA 92660 E'm“lm‘ld"c”

Ci¢y, Siate. Zip Code 223381

Designce'r Cai.[`fornia Siaie Bar Nnml:er

Ihereby consent to the foregoing designation aa local conneel, and declare under pennllv ofper]ttr)' that I maintain an office in tire
Central Dlst.t'ict of Cnlifon'.lia for the practice of law.

Dated \'l"iOd\<{

 

S 0 ~U. M `

 

Applicant is also admitted in the Stote of Fennsyvlauia as of November 9, 2007, however-her status is currently inactive

 

 

 

 

 

G-M {6!16} A?PLICATIDN OF NON-RESIDEN’]' Nl’I‘OItNEY'l‘O APPBAR lN it SPBCIF]C CASB PRD HAC WCE Page 3 oi'3

 

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The Supreme Court of Ohio

CERTIFICATE OF GOOD STANDING

I. GINA WHITE PALMER, Director of the Attomey Services Divisiorl of the Supreme
Court of Ohio, do hereby certify that l am the custodian of the records of the Offlce of
Attorney Services of the Supreme Court and that the Attorney Services Division is
responsible for reviewing Court records to determine the status of Ohio attorneys l further

certify that, having fulfilled all ofthe requirements for admission to the practice of law in
Ohio,

Emily Costa White
Attorney Registration No. 0085662

was admitted to the practice of law in Ohio on November 9, 2009; has registered as an
active attorney pursuant to the Supreme Court Rules for the Government of the Bar of
Ohio; is in good standing with the Suprerne Court of Ohi0; and is entitled to practice law
in this state.

IN TEST|MON-¥ 'WHEREOF, l have
subscribed my name and affixed the seal of the
Supreme Court-, this 6th day of Aprii, 2018.

GzNA'wHITE PALME:R

Director, _Arrorney Servicies Division

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Lei Nloor_e
Administrative Assisran£

 

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